Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 1 of 28 Page ID #:118




   1 LAW OFFICES OF DALE K. GALIPO
     Dale K. Galipo, Esq. (SBN 144074)
   2 dalekgalipo@yahoo.com
     21800 Burbank Boulevard, Suite 310
   3 Woodland Hills, California 91367
     Tel: (818) 347-3333; Fax: (818) 347-4118
   4
     RANDOLPH & ASSOCIATES
   5 Donald C. Randolph (SBN 62468)
     Albert Oganesyan (SBN 285637)
   6 albert@randolphassociates.com
     1717 Fourth Street, Third Floor
   7 Santa Monica, CA 90401
     Tel: (310) 395-7900; Fax: (310) 395-1833
   8
                             UNITED STATES DISTRICT COURT
   9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
      DAVID POWELL, SR., individually         Case No. 5:16-cv-01472-JGB-KK
  11 and as a successor-in-interest to David
  12 Powell, Jr., deceased; ROSEMARY          FIRST AMENDED COMPLAINT
      RENTERIA, individually and as a         FOR DAMAGES
  13 successor-in-interest to David Powell,
      Jr., deceased, LORETTA CHAVEZ,            1. Fourth Amendment—Detention
  14 individually; and G.L., a minor,              and Arrest (42 U.S.C. § 1983)
  15 individually, by and through his           2. Fourth Amendment—Excessive
      guardian ad litem Loretta Chavez,            Force (42 U.S.C. § 1983)
  16
                                                3. Fourth Amendment—Denial of
  17               Plaintiffs,                     Medical Care (42 U.S.C. § 1983)
                                                4. Substantive Due Process (42
  18         vs.
                                                   U.S.C. § 1983)
  19 CITY OF BARSTOW; JUAN                      5. Municipal Liability—Ratification
                                                   (42 U.S.C. § 1983)
  20 ZEPEDA; ANDREW BUESA; and
      DOES 3-10, inclusive,                     6. Municipal Liability—Inadequate
  21                                               Training (42 U.S.C. § 1983)
                   Defendants.                  7. Municipal Liability—
  22
                                                   Unconstitutional Custom, Practice,
  23                                               or Policy (42 U.S.C. § 1983)
                                                8. False Arrest/False Imprisonment
  24
                                                9. Battery (Wrongful Death)
  25                                            10.Negligence (Wrongful Death)
                                                11.Violation of Cal. Civil Code § 52.1
  26
                                                12.Negligence—Bystander
  27
                                              DEMAND FOR JURY TRIAL
  28

                                                   FIRST AMENDED COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 2 of 28 Page ID #:119




   1                 FIRST AMENDED COMPLAINT FOR DAMAGES
   2         COME NOW Plaintiffs David Powell, Sr., individually and as a successor-in-
   3 interest to David Powell, Jr., deceased; Rosemary Renteria, individually and as a
   4 successor-in-interest to David Powell, Jr., deceased; Loretta Chavez, individually;
   5 and G.L., a minor, individually, by and through his guardian ad litem Loretta
   6 Chavez, for their Complaint against Defendants City of Barstow, Juan Zepeda,
   7 Andrew Buesa, and Does 3-10, inclusive, and allege as follows:
   8
   9                              JURISDICTION AND VENUE
  10         1.       This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331
  11 and 1343(a)(3)-(4) because Plaintiffs assert claims arising under the laws of the
  12 United States including 42 U.S.C. § 1983 and the Fourth and Fourteenth
  13 Amendments of the United States Constitution. This Court has supplemental
  14 jurisdiction over Plaintiffs’ claims arising under state law pursuant to 28 U.S.C. §
  15 1367(a), because those claims are so related to the federal claims that they form part
  16 of the same case or controversy under Article III of the United States Constitution.
  17         2.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because
  18 Defendants reside in this district and all incidents, events, and occurrences giving
  19 rise to this action occurred in this district.
  20
  21                                     INTRODUCTION
  22         3.     This civil rights and state tort action seeks compensatory and punitive
  23 damages from Defendants for violating various rights under the United States
  24 Constitution and state law in connection with the fatal officer-involved shooting of
  25 David Powell, Jr., on September 14, 2015.
  26
  27
  28

                                                      -1-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 3 of 28 Page ID #:120




   1                                          PARTIES
   2         4.    At all relevant times, David Powell, Jr. (“DECEDENT”) was an
   3 individual residing in the County of San Bernardino, California. DECEDENT was
   4 28 years old at the time of his death.
   5         5.    Plaintiff ROSEMARY RENTERIA (“RENTERIA”) is an individual
   6 residing in the County of San Bernardino, California and is the natural mother of
   7 DECEDENT. RENTERIA sues both in her individual capacity as the mother of
   8 DECEDENT and in a representative capacity as a successor-in-interest to
   9 DECEDENT pursuant to California Code of Civil Procedure § 377.60. RENTERIA
  10 seeks both survival and wrongful death damages under federal and state law.
  11         6.    Plaintiff DAVID POWELL, SR. (“POWELL”) is an individual residing
  12 in the Lake County, Florida and is the natural father of DECEDENT. POWELL
  13 sues both in his individual capacity as the natural father of DECEDENT and in a
  14 representative capacity as a successor-in-interest to DECEDENT pursuant to
  15 California Code of Civil Procedure § 377.60. POWELL seeks both wrongful death
  16 and survival damages under federal law.
  17         7.    Plaintiff LORETTA CHAVEZ (“CHAVEZ”) is an individual residing
  18 in the County of San Bernardino, California and is the natural sister of DECEDENT.
  19 CHAVEZ sues in her individual capacity and seeks compensatory damages for
  20 negligent infliction of emotional distress.
  21         8.    Plaintiff G.L. is an individual residing in the County of San Bernardino,
  22 California and is the natural nephew of DECEDENT. G.L., by and through his
  23 guardian ad litem CHAVEZ, sues in his individual capacity and seeks compensatory
  24 damages for negligent infliction of emotional distress.
  25         9.    At all relevant times, Defendant CITY OF BARSTOW (“CITY”) is and
  26 was a municipal corporation existing under the laws of the State of California. CITY
  27 is a chartered subdivision of the State of California with the capacity to be sued.
  28 CITY is responsible for the actions, omissions, policies, procedures, practices, and

                                                   -2-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 4 of 28 Page ID #:121




   1 customs of its various agents and agencies, including the City of Barstow Police
   2 Department and its agents and employees. At all relevant times, Defendant CITY
   3 was responsible for assuring that the actions, omissions, policies, procedures,
   4 practices, and customs of its employees and agents complied with the laws of the
   5 United States and of the State of California. At all relevant times, CITY was the
   6 employer of Defendants DOES 3-10.
   7         10.   Defendants JUAN ZEPEDA (“ZEPEDA”) and ANDREW BUESA
   8 (“BUESA”) are officers working for the City of Barstow and its Police Department.
   9 ZEPEDA and BUESA were acting under color of law within the course and scope
  10 of their duties as officers for the City of Barstow Police Department. ZEPEDA and
  11 BUESA were acting with the complete authority and ratification of their principal,
  12 Defendant CITY.
  13         11.   Defendants DOES 3-5 (“DOE OFFICERS”) are officers working for
  14 the City of Barstow and its Police Department. DOE OFFICERS were acting under
  15 color of law within the course and scope of their duties as officers for the City of
  16 Barstow Police Department. DOE OFFICERS were acting with the complete
  17 authority and ratification of their principal, Defendant CITY.
  18         12.   Defendants DOES 6-8 are supervisory officers for the City of Barstow
  19 who were acting under color of law within the course and scope of their duties as
  20 officers for the City of Barstow Police Department. DOES 6-8 were acting with the
  21 complete authority and ratification of their principal, Defendant CITY.
  22         13.   Defendants DOES 9-10 are managerial, supervisorial, and
  23 policymaking employees of the City of Barstow Police Department, who were
  24 acting under color of law within the course and scope of their duties as managerial,
  25 supervisorial, and policymaking employees for the City of Barstow Police
  26 Department. DOES 9-10 were acting with the complete authority and ratification of
  27 their principal, Defendant CITY.
  28

                                                -3-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 5 of 28 Page ID #:122




   1        14.    On information and belief, Defendants ZEPEDA, BUESA, and DOES
   2 3-10 were residents of the City of Barstow and/or County of San Bernardino.
   3        15.    In doing the acts and failing and omitting to act as hereinafter
   4 described, Defendants ZEPEDA and BUESA were acting on the implied and actual
   5 permission and consent of Defendants City of Barstow Police Department and
   6 DOES 6-10.
   7        16.    In doing the acts and failing and omitting to act as hereinafter
   8 described, Defendants ZEPEDA and BUESA were acting on the implied and actual
   9 permission and consent of the CITY.
  10        17.    The true names and capacities, whether individual, corporate,
  11 association or otherwise of Defendants DOES 3-10, inclusive, are unknown to
  12 Plaintiffs, who otherwise sue these Defendants by such fictitious names. Plaintiffs
  13 will seek leave to amend this complaint to show the true names and capacity of
  14 these Defendants when they have been ascertained. Each of the fictitiously-named
  15 Defendants is responsible in some manner for the conduct or liabilities alleged
  16 herein.
  17        18.    At all times mentioned herein, each and every defendant was the agent
  18 of each and every other defendant and had the legal duty to oversee and supervise
  19 the hiring, conduct, and employment of each and every defendant.
  20        19.    All of the acts complained of herein by Plaintiffs against Defendants
  21 were done and performed by said Defendants by and through their authorized
  22 agents, servants, and/or employees, all of whom at all relevant times herein were
  23 acting within the course, purpose, and scope of said agency, service, and/or
  24 employment capacity. Moreover, Defendants and their agents ratified all of the acts
  25 complained of herein.
  26        20.    Defendants ZEPEDA and BUESA are sued in their individual capacity.
  27        21.    On or around December 16, 2015, pursuant to Government Code
  28 Section 910, Plaintiffs presented a claim with the City of Barstow in full and timely

                                                -4-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 6 of 28 Page ID #:123




   1 compliance with the California Tort Claim Act. Plaintiffs received no written
   2 rejection.
   3
   4                FACTS COMMON TO ALL CLAIMS FOR RELIEF
   5         22.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   6 through 21 of this Complaint with the same force and effect as if fully set forth
   7 herein.
   8         23.   On September 14, 2016, at approximately 7:45 p.m., RENTERIA and
   9 CHAVEZ called the City of Barstow Police Department and informed them that
  10 DECEDENT was schizophrenic and bipolar, needed mental help, and had not taken
  11 his medicine. In response to this call, ZEPEDA and/or BUESA and/or DOE
  12 OFFICERS arrived at DECEDENT’s home on 750 East Armory Road in the City of
  13 Barstow, California, where DECEDENT lived with Plaintiffs RENTERIA and
  14 CHAVEZ. When ZEPEDA and/or BUESA and/or DOE OFFICERS arrived,
  15 CHAVEZ informed them that DECEDENT needed to take his medication to
  16 stabilize and recommended that the police take him in for a mental hold.
  17 DECEDENT was not at the residence at the time that the officers responded to the
  18 7:45 p.m. call, and ZEPEDA and/or BUESA and/or DOE OFFICERS left the
  19 residence.
  20         24.   At approximately 8:09 p.m., DECEDENT returned to the residence,
  21 and RENTERIA and CHAVEZ called the police again out of concern for
  22 DECEDENT’s mental health. DECEDENT was also not at the residence by the
  23 DOE OFFICERS responded to the 8:09 p.m. call, and the officers left the residence.
  24 DECEDENT returned to the residence at approximately 8:40 p.m., at which time
  25 Plaintiff CHAVEZ told DECEDENT that he needed help and that he was not
  26 permitted to reenter the residence until he spoke with the police officers.
  27 DECEDENT agreed and waited outside in the backyard for the officers to arrive.
  28

                                                -5-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 7 of 28 Page ID #:124




   1        25.    ZEPEDA and BUESA arrived at the residence shortly after the 8:40
   2 p.m. call. CHAVEZ explained to ZEPEDA and BUESA that DECEDENT was
   3 schizophrenic and needed help. ZEPEDA and BUESA were also aware of
   4 DECEDENT’s mental health issues from previous encounters. Either ZEPEDA or
   5 BUESA responded to CHAVEZ, “We’re not your babysitter and we’re not going to
   6 be your bodyguard all night long,” or words to that effect.
   7        26.    CHAVEZ led ZEPEDA and BUESA to where DECEDENT was in the
   8 backyard. ZEPEDA and BUESA immediately pointed their guns and/or Tasers at
   9 DECEDENT and commanded him to put his hands in the air, thereby improperly
  10 detaining him. DECEDENT immediately complied by putting his hands up in the
  11 air. DECEDENT also stated, “I just want to talk.” ZEPEDA and BUESA
  12 commanded DECEDENT to get on the ground, and he responded by saying again,
  13 “I just want to talk.” ZEPEDA and BUESA proceeded to use a Taser on
  14 DECEDENT. Even though DECEDENT repeatedly plead with ZEPEDA and
  15 BUESA that he just wanted to talk, and despite the fact that DECEDENT could
  16 have been restrained with the use of less lethal force, ZEPEDA and BUESA ignored
  17 his requests to “just talk” and continued to use the Taser against him, applying
  18 painful electric shocks into a clearly confused DECEDENT.
  19        27.    While DECEDENT was shaking uncontrollably from the electric
  20 shocks applied to his body, ZEPEDA and BUESA ran towards DECEDENT and
  21 began to aggressively wrestle him to the ground. DECEDENT could not control his
  22 body as a result of the shocks. Confused and terrified, he repeated: “I just want to
  23 talk, I pay the mortgage.” As a result of the physical hands-on force applied by
  24 ZEPEDA and BUESA, DECEDENT, ZEPEDA, and/or BUESA fell to the ground.
  25 On information and belief, ZEPEDA or BUESA stood up and at the same time
  26 dropped his gun to the ground. He then immediately began to yell, “Where the fuck
  27 is my gun, where the fuck is my gun?” Moments later, this officer retrieved his gun
  28

                                                -6-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 8 of 28 Page ID #:125




   1 from behind his legs and fired at DECEDENT, who was still on the ground, from
   2 approximately four to five feet away.
   3        28.    DECEDENT was unarmed during the entirety of this incident, and
   4 there was no indication that DECEDENT could possibly be armed. The use of
   5 deadly force against DECEDENT was excessive and objectively unreasonable under
   6 the circumstances, especially because DECEDENT was not armed and did not pose
   7 an immediate threat of death or serious bodily injury to anyone at the time of the
   8 shooting. As a result of the use of excessive force, DECEDENT endured severe pain
   9 and suffering and then lost his life and earning capacity.
  10        29.    After being shot, DECEDENT was immobile, bleeding profusely, and
  11 in obvious and critical need of emergency medical care and treatment. Plaintiff
  12 RENTERIA ran to DECEDENT and begged him not to die. RENTERIA turned
  13 DECEDENT onto his side to prevent him from suffocating on his blood. As she
  14 was holding DECEDENT, ZEPEDA and BUESA yelled at her. “Get the fuck away,
  15 get the fuck away.” ZEPEDA and/or BUESA then grabbed RENTERIA, who is
  16 disabled, and pulled her away from her dying son. Defendants did not timely
  17 summon medical care or permit medical personnel to treat DECEDENT. The delay
  18 of medical care to DECEDENT caused DECEDENT extreme physical and
  19 emotional pain and suffering, and was a contributing cause of DECEDENT’s
  20 serious injuries.
  21        30.    Plaintiff CHAVEZ was in the backyard at the time of the incident and
  22 observed ZEPEDA and BUESA shoot and kill her brother from approximately 10-
  23 15 feet away. Plaintiff G.L., DECEDENT’s nephew, observed the incident from a
  24 side porch approximately 5-10 feet away from DECEDENT. Plaintiff RENTERIA,
  25 DECEDENT’s mother, also observed the incident when she exited the residence
  26 behind CHAVEZ. Plaintiffs CHAVEZ, G.L., and RENTERIA further observed
  27 DECEDENT suffering after the shooting.
  28

                                                -7-
                                                                    COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 9 of 28 Page ID #:126




   1        31.    Plaintiffs were dependent on DECEDENT, to some extent, for the
   2 necessities of life. DECEDENT paid the mortgage on the residence where he lived
   3 with RENTERIA, and DECEDENT was RENTERIA’s full-time caretaker.
   4        32.    Plaintiffs RENTERIA and POWELL are DECEDENT’s successors-in-
   5 interest as defined in Section 377.11 of the California Code of Civil Procedure and
   6 succeed to DECEDENT’s interest in this action as the natural parents of
   7 DECEDENT.
   8
   9                            FIRST CLAIM FOR RELIEF
  10           Fourth Amendment—Detention and Arrest (42 U.S.C. § 1983)
  11    (By Plaintiffs RENTERIA and POWELL against Defendants ZEPEDA, BUESA,
  12                                 and DOE OFFICERS)
  13        33.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  14 through 32 of this Complaint with the same force and effect as if fully set forth
  15 herein.
  16        34.    Defendants ZEPEDA and BUESA detained DECEDENT without
  17 reasonable suspicion and arrested him without probable cause.
  18        35.    When Defendants ZEPEDA and BUESA pointed a gun and a Taser at
  19 DECEDENT, shot DECEDENT, Tased DECEDENT, and placed him in handcuffs,
  20 they violated DECEDENT’s right to be secure in his person against unreasonable
  21 searches and seizures as guaranteed to DECEDENT under the Fourth Amendment
  22 to the United States Constitution and applied to state actors by the Fourteenth
  23 Amendment.
  24        36.    The conduct of Defendants ZEPEDA and BUESA was willful, wanton,
  25 malicious, and done with reckless disregard for the rights and safety of DECEDENT
  26 and therefore warrants the imposition of exemplary and punitive damages as to
  27 Defendants ZEPEDA and BUESA.
  28

                                                -8-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 10 of 28 Page ID #:127




   1         37.   As a result of their misconduct, Defendants ZEPEDA and BUESA are
   2 liable for DECEDENT’s injuries, either because they were integral participants in
   3 the wrongful detention and arrest, or because they failed to intervene to prevent
   4 these violations.
   5         38.   Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
   6 successors-in-interest as defined in Section 377.11 of the California Code of Civil
   7 Procedure and seek both survival and wrongful death damages for the violation of
   8 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees
   9 under this claim.
  10
  11                           SECOND CLAIM FOR RELIEF
  12               Fourth Amendment —Excessive Force (42 U.S.C. § 1983)
  13    (By Plaintiffs POWELL and RENTERIA against Defendants ZEPEDA, BUESA,
  14                                  and DOE OFFICERS)
  15         39.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  16 through 38 of this Complaint with the same force and effect as if fully set forth
  17 herein.
  18         40.   Defendants ZEPEDA and BUESA used excessive force against
  19 DECEDENT when they used Tasers against him, took him to the ground, and shot
  20 him. the unjustified Tasing, shooting, and other uses of force deprived DECEDENT
  21 of his right to be secure in his person against unreasonable searches and seizures as
  22 guaranteed to DECEDENT under the Fourth Amendment to the United States
  23 Constitution and applied to state actors by the Fourteenth Amendment.
  24         41.   Each of the Defendant DOE OFFICERS integrally participated and/or
  25 failed to intervene.
  26         42.   As a result of the foregoing, DECEDENT suffered great physical pain
  27 and emotional distress up to the time of his death, loss of enjoyment of life, loss of
  28 life, and loss of earning capacity.

                                                 -9-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 11 of 28 Page ID #:128




   1        43.    The conduct of Defendants ZEPEDA, BUESA, and DOE OFFICERS
   2 was willful, wanton, malicious, and done with reckless disregard for the rights and
   3 safety of DECEDENT, and therefore warrants the imposition of exemplary and
   4 punitive damages as to Defendants ZEPEDA and BUESA and DOE OFFICERS.
   5        44.    The shooting, Tasing, and use of force was excessive and unreasonable,
   6 especially because DECEDENT was unarmed and posed no immediate threat of
   7 death or serious bodily injury at the time of the shooting. Further, the shooting,
   8 Tasing, and use of force against DECEDENT violated Defendants’ training and
   9 standard police officer training.
  10        45.    Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  11 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  12 Procedure and seek both survival and wrongful death damages for the violation of
  13 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
  14
  15                            THIRD CLAIM FOR RELIEF
  16           Fourth Amendment —Denial of Medical Care (42 U.S.C. § 1983)
  17    (By Plaintiffs POWELL and RENTERIA against Defendants ZEPEDA, BUESA,
  18                                 and DOE OFFICERS)
  19        46.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  20 through 45 of this Complaint with the same force and effect as if fully set forth
  21 herein.
  22        47.     The denial of medical care by Defendants ZEPEDA, BUESA, and
  23 DOE OFFICERS deprived DECEDENT of his right to be secure in his person
  24 against unreasonable searches and seizures as guaranteed to DECEDENT under the
  25 Fourth Amendment to the United States Constitution and applied to state actors by
  26 the Fourteenth Amendment.
  27
  28

                                               -10-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 12 of 28 Page ID #:129




   1         48.   As a result of the foregoing, DECEDENT suffered great physical pain
   2 and emotional distress up to the time of his death, loss of enjoyment of life, loss of
   3 life, and loss of earning capacity.
   4         49.   Defendants ZEPEDA, BUESA, and DOE OFFICERS knew that failure
   5 to provide timely medical treatment to DECEDENT could result in further
   6 significant injury or the unnecessary and wanton infliction of pain, but disregarded
   7 that serious medical need, causing DECEDENT great bodily harm and death.
   8         50.   The conduct of ZEPEDA, BUESA, and DOE OFFICERS was willful,
   9 wanton, malicious, and done with reckless disregard for the rights and safety of
  10 DECEDENT and therefore warrants the imposition of exemplary and punitive
  11 damages as to Defendants ZEPEDA, BUESA, and DOE OFFICERS.
  12         51.   As a result of their misconduct, Defendants ZEPEDA, BUESA, and
  13 DOE OFFICERS are liable for DECEDENT’s injuries, either because they were
  14 integral participants in the wrongful detention and arrest, or because they failed to
  15 intervene to prevent these violations.
  16         52.   Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  17 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  18 Procedure and seek both survival and wrongful death damages for the violation of
  19 DECEDENT’s rights. Plaintiffs also seek punitive damagaes and attorney’s fees.
  20
  21                           FOURTH CLAIM FOR RELIEF
  22                      Substantive Due Process (42 U.S.C. § 1983)
  23    (By Plaintiffs RENTERIA and POWELL against Defendants ZEPEDA, BUESA,
  24                                  and DOE OFFICERS)
  25         53.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  26 through 52 of this Complaint with the same force and effect as if fully set forth
  27 herein.
  28

                                                -11-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 13 of 28 Page ID #:130




   1         54.   DECEDENT had a cognizable interest under the Due Process Clause of
   2 the Fourteenth Amendment of the United States Constitution to be free from state
   3 actions that deprive him of life, liberty, or property in such a manner as to shock the
   4 conscience.
   5         55.   As the natural father of DECEDENT, Plaintiff POWELL had a
   6 cognizable interest under the Due Process Clause of the Fourteenth Amendment of
   7 the United States Constitution to be free from state actions that deprive him of life,
   8 liberty, or property, including but not limited to unwarranted state interference in
   9 Plaintiff POWELL’S familial relationship with his son, DECEDENT.
  10         56.   As the natural mother of DECEDENT, Plaintiff RENTERIA had a
  11 cognizable interest under the Due Process Clause of the Fourteenth Amendment of
  12 the United States Constitution to be free from state actions that deprive her of life,
  13 liberty, or property, including but not limited to unwarranted state interference in
  14 Plaintiff RENTERIA’S familial relationship with her son, DECEDENT.
  15         57.   As a direct and proximate result of aforementioned actions of
  16 ZEPEDA, BUESA, and DOE OFFICERS, including their use of excessive and
  17 unreasonable force against DECEDENT, DECEDENT experienced pain and
  18 suffering and eventually died. ZEPEDA, BUESA, and DOE OFFICERS thus
  19 violated the substantive due process rights of Plaintiffs to be free from unwarranted
  20 interference with their familial relationship with DECEDENT.
  21         58.   As a direct and proximate cause of the acts of ZEPEDA, BUESA, and
  22 DOE OFFICERS, Plaintiffs suffered emotional distress, mental anguish, and pain.
  23 Plaintiffs have also been deprived of the life-long love, companionship, comfort,
  24 support, society, care, and sustenance of DECEDENT, and will continue to be so
  25 deprived for the remainder of their natural lives.
  26         59.   The conduct of ZEPEDA, BUESA, and DOE OFFICERS was willful,
  27 wanton, malicious, and done with reckless disregard for the rights and safety of
  28

                                                -12-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 14 of 28 Page ID #:131




   1 DECEDENT and Plaintiffs and therefore warrants the imposition of exemplary and
   2 punitive damages as to Defendants ZEPEDA, BUESA, and DOE OFFICERS.
   3         60.   Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
   4 successors-in-interest as defined in Section 377.11 of the California Code of Civil
   5 Procedure and seek both survival and wrongful death damages for the violation of
   6 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
   7
   8                             FIFTH CLAIM FOR RELIEF
   9                 Municipal Liability – Ratification (42 U.S.C. § 1983)
  10    (By Plaintiffs POWELL and RENTERIA against Defendants CITY and DOES 6-
  11                                            10)
  12         61.   Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  13 through 60 of this Complaint with the same force and effect as if fully set forth
  14 herein.
  15         62.   Defendants ZEPEDA and BUESA acted under color of law;
  16         63.   The acts of Defendants ZEPEDA and BUESA deprived DECEDENT
  17 and Plaintiffs of their particular rights under the United States Constitution.
  18         64.   Upon information and belief, a final policymaker, acting under color of
  19 law, who had final policymaking authority concerning the acts of Defendants
  20 ZEPEDA and BUESA, ratified Defendants ZEPEDA and BUESA’s acts and the
  21 bases for them. Upon information and belief, the final policymaker knew of and
  22 specifically approved of Defendants ZEPEDA and BUESA’s acts.
  23         65.   Upon information and belief, a final policymaker has determined (or
  24 will determine) that the acts of Defendants ZEPEDA and BUESA were “within
  25 policy.”
  26         66.   By reason of the aforementioned acts and omissions, Plaintiffs have
  27 suffered loss of the love, companionship, affection, comfort, care, society, training,
  28 guidance, and past and future support of DECEDENT. The aforementioned acts and

                                                -13-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 15 of 28 Page ID #:132




   1 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
   2 and death.
   3         67.    Accordingly, Defendants CITY and DOES 6-10 each are liable to
   4 Plaintiffs for compensatory damages under 42 U.S.C. § 1983 under this claim.
   5         68.    Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
   6 successors-in-interest as defined in Section 377.11 of the California Code of Civil
   7 Procedure and seek both survival and wrongful death damages for the violation of
   8 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees
   9 under this claim.
  10
  11                             SIXTH CLAIM FOR RELIEF
  12               Municipal Liability – Failure to Train (42 U.S.C. § 1983)
  13    (By Plaintiffs POWELL and RENTERIA against Defendants CITY and DOES 6-
  14                                             10)
  15         69.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  16 through 68 of this Complaint with the same force and effect as if fully set forth
  17 herein.
  18         70.    Defendants ZEPEDA and BUESA acted under color of law.
  19         71.    The acts of Defendants ZEPEDA and BUESA deprived DECEDENT
  20 and Plaintiffs of their particular rights under the United States Constitution.
  21         72.    The training policies of Defendant CITY were not adequate to train its
  22 officers to handle the usual and recurring situations with which they must deal.
  23         73.    Defendant CITY was deliberately indifferent to the obvious
  24 consequences of its failure to train its officers adequately.
  25         74.    The failure of Defendant CITY to provide adequate training caused the
  26 deprivation of Plaintiffs’ rights by Defendants ZEPEDA and BUESA; that is,
  27 Defendants’ failure to train is so closely related to the deprivation of the Plaintiffs’
  28 rights as to be the moving force that caused the ultimate injury.

                                                 -14-
                                                                       COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 16 of 28 Page ID #:133




   1        75.    On information and belief, CITY failed to train ZEPEDA and BUESA
   2 properly and adequately.
   3        76.    By reason of the aforementioned acts and omissions, Plaintiffs have
   4 suffered loss of the love, companionship, affection, comfort, care, society, training,
   5 guidance, and past and future support of DECEDENT. The aforementioned acts and
   6 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
   7 and death.
   8        77.    Accordingly, Defendants CITY and DOES 6-10 each are liable to
   9 Plaintiffs for compensatory damages under 42 U.S.C. § 1983 under this claim.
  10        78.    Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  11 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  12 Procedure and seek both survival and wrongful death damages for the violation of
  13 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
  14
  15                          SEVENTH CLAIM FOR RELIEF
  16     Municipal Liability – Unconstitutional Custom or Policy (42 U.S.C. § 1983)
  17    (By Plaintiffs RENTERIA and POWELL against Defendants CITY and DOES 6-
  18                                           10)
  19        79.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  20 through 78 of this Complaint with the same force and effect as if fully set forth
  21 herein.
  22        80.    Defendants ZEPEDA and BUESA acted under color of law.
  23        81.    Defendants ZEPEDA and BUESA acted pursuant to an expressly
  24 adopted official policy or a longstanding practice or custom of the Defendant CITY.
  25        82.    On information and belief, Defendants ZEPEDA and BUESA were not
  26 disciplined, reprimanded, retrained, suspended, or otherwise penalized in connection
  27 with DECEDENT’s death.
  28

                                               -15-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 17 of 28 Page ID #:134




   1        83.   Defendants CITY and DOE OFFICERS, together with other CITY
   2 policymakers and supervisors, maintained, inter alia, the following unconstitutional
   3 customs, practices, and policies:
   4              (a)    Using excessive force, including excessive deadly force;
   5              (b)    Providing inadequate training regarding the use of deadly force;
   6              (c)    Employing and retaining as police officers individuals such as
   7                     Defendants ZEPEDA and BUESA, whom Defendant CITY at all
   8                     times material herein knew or reasonably should have known
   9                     had dangerous propensities for abusing their authority and for
  10                     using excessive force;
  11              (d)    Inadequately supervising, training, controlling, assigning, and
  12                     disciplining CITY officers, and other personnel, including
  13                     Defendants ZEPEDA and BUESA, whom Defendant CITY
  14                     knew or in the exercise of reasonable care should have known
  15                     had the aforementioned propensities and character traits;
  16               (e)   Maintaining grossly inadequate procedures for reporting,
  17                     supervising, investigating, reviewing, disciplining and
  18                     controlling misconduct by Defendants DOE OFFICERS;
  19               (f)   Failing to adequately discipline CITY police officers, including
  20                     Defendants ZEPEDA and BUESA, for the above-referenced
  21                     categories of misconduct, including “slaps on the wrist,”
  22                     discipline that is so slight as to be out of proportion to the
  23                     magnitude of the misconduct, and other inadequate discipline
  24                     that is tantamount to encouraging misconduct;
  25               (g)   Announcing that unjustified shootings are “within policy,”
  26                     including shootings that were later determined in court to be
  27                     unconstitutional;
  28

                                                -16-
                                                                       COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 18 of 28 Page ID #:135




   1                (h)   Even where shootings are determined in court to be
   2                      unconstitutional, refusing to discipline, terminate, or retrain the
   3                      officers involved;
   4                (i)   Encouraging, accommodating, or facilitating a “blue code of
   5                      silence,” “blue shield,” “blue wall,” “blue curtain,” “blue veil,”
   6                      or simply “code of silence,” pursuant to which police officers do
   7                      not report other officers’ errors, misconduct, or crimes. Pursuant
   8                      to this code of silence, if questioned about an incident of
   9                      misconduct involving another officer, while following the code,
  10                      the officer being questioned will claim ignorance of the other
  11                      officers’ wrongdoing.
  12                (j)   Maintaining a policy of inaction and an attitude of indifference
  13                      towards soaring numbers of police shootings, including by
  14                      failing to discipline, retrain, investigate, terminate, and
  15                      recommend officers for criminal prosecution who participate in
  16                      shootings of unarmed people.
  17         84.   By reason of the aforementioned acts and omissions, Plaintiffs have
  18 suffered loss of the love, companionship, affection, comfort, care, society, training,
  19 guidance, and past and future support of DECEDENT. The aforementioned acts and
  20 omissions also caused DECEDENT’s pain and suffering, loss of enjoyment of life,
  21 and death.
  22         85.   Defendants CITY and DOES 6-10, together with various other
  23 officials, whether named or unnamed, had either actual or constructive knowledge
  24 of the deficient policies, practices and customs alleged in the paragraphs above.
  25 Despite having knowledge as stated above, these defendants condoned, tolerated and
  26 through actions and inactions thereby ratified such policies. Said defendants also
  27 acted with deliberate indifference to the foreseeable effects and consequences of
  28

                                                 -17-
                                                                        COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 19 of 28 Page ID #:136




   1 these policies with respect to the constitutional rights of DECEDENT, Plaintiffs,
   2 and other individuals similarly situated.
   3        86.    By perpetrating, sanctioning, tolerating and ratifying the outrageous
   4 conduct and other wrongful acts, DOES 6-10 acted with intentional, reckless, and
   5 callous disregard for the life of DECEDENT and for DECEDENT’s and Plaintiffs’
   6 constitutional rights. Furthermore, the policies, practices, and customs
   7 implemented, maintained, and still tolerated by Defendants CITY, DOES 6-10 were
   8 affirmatively linked to and were a significantly influential force behind the injuries
   9 of DECEDENT and Plaintiffs.
  10        87.    Accordingly, Defendants CITY, DOES 6-10 each are liable to Plaintiffs
  11 for compensatory damages under 42 U.S.C. § 1983 under this claim.
  12        88.    Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  13 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  14 Procedure and seek both survival and wrongful death damages for the violation of
  15 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees
  16 under this claim.
  17
  18                           EIGHTH CLAIM FOR RELIEF
  19                           False Arrest/False Imprisonment
  20     (By Plaintiffs RENTERIA and POWELL against Defendants CITY, ZEPEDA,
  21                             DOE OFFICERS, and BUESA)
  22        89.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  23 through 88 of this Complaint with the same force and effect as if fully set forth
  24 herein.
  25        90.    Defendants ZEPEDA and BUESA, while working as officers for the
  26 CITY and acting within the course and scope of their duties, intentionally deprived
  27 DECEDENT of his freedom of movement by use of force, threats of force, menace,
  28

                                                 -18-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 20 of 28 Page ID #:137




   1 fraud, deceit, and unreasonable duress. ZEPEDA and BUESA detained
   2 DECEDENT without reasonable suspicion and arrested him without probable cause.
   3         91.   DECEDENT did not knowingly or voluntarily consent.
   4         92.   Defendants ZEPEDA and BUESA detained DECEDENT for an
   5 appreciable amount of time.
   6         93.   The conduct of ZEPEDA and BUESA was a substantial factor in
   7 causing the harm to DECEDENT.
   8         94.   DOE OFFICERS integrally participated or failed to intervene in the
   9 false arrest of DECEDENT.
  10         95.   Defendant CITY is vicariously liable for the wrongful acts of
  11 Defendants ZEPEDA and BUESA pursuant to section 815.2(a) of the California
  12 Government Code, which provides that a public entity is liable for the injuries
  13 caused by its employees within the scope of the employment if the employee’s act
  14 would subject him or her to liability.
  15         96.   The conduct of ZEPEDA and BUESA was malicious, wanton,
  16 oppressive, and accomplished with a conscious disregard for the rights of
  17 DECEDENT, entitling Plaintiffs to an award of exemplary and punitive damages.
  18         97.   As a result of their misconduct, Defendants ZEPEDA, DOE
  19 OFFICERS, and BUESA are liable for DECEDENT’s injuries, either because they
  20 were integral participants in the wrongful detention and arrest, or because they
  21 failed to intervene to prevent these violations.
  22         98.   Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  23 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  24 Procedure and seek both survival and wrongful death damages for the violation of
  25 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
  26
  27
  28

                                                -19-
                                                                    COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 21 of 28 Page ID #:138




   1                            NINTH CLAIM FOR RELIEF
   2                                          Battery
   3                                   (Wrongful Death)
   4     (By Plaintiffs RENTERIA and POWELL against Defendants CITY, ZEPEDA,
   5                            DOE OFFICERS, and BUESA)
   6        99.    Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   7 through 98 of this Complaint with the same force and effect as if fully set forth
   8 herein.
   9        100. ZEPEDA and BUESA, while working as officers for the CITY and
  10 acting within the course and scope of his duties, intentionally Tased and shot
  11 DECEDENT multiple times and also roughly took him to the ground, thereby using
  12 unreasonable and excessive force against him. As a result of the actions of
  13 ZEPEDA and BUESA, DECEDENT suffered severe pain and suffering and
  14 ultimately died from his injuries. ZEPEDA and BUESA had no legal justification
  15 for using force against DECEDENT, and their use of force while carrying out their
  16 duties as police officers was an unreasonable and non-privileged use of force.
  17        101. DOE OFFICERS integrally participated and/or failed to intervene in
  18 the uses of force, including deadly force, against DECEDENT.
  19        102. As a direct and proximate result of the conduct of ZEPEDA and DOE
  20 OFFICERS BUESA and as alleged above, DECEDENT sustained injuries and died
  21 from his injuries and also lost his earning capacity. Also as a direct and proximate
  22 result of the conduct of ZEPEDA and BUESA as alleged above, DECEDENT
  23 suffered survival damages pursuant to Code of Civil Procedure Section 377.34.
  24        103. CITY is vicariously liable for the wrongful acts of Defendants
  25 ZEPEDA, BUESA, and DOES 1-10 pursuant to section 815.2(a) of the California
  26 Government Code, which provides that a public entity is liable for the injuries
  27 caused by its employees within the scope of the employment if the employee’s act
  28 would subject him or her to liability.

                                                -20-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 22 of 28 Page ID #:139




   1         104. The conduct of ZEPEDA, DOE OFFICERS, and BUESA was
   2 malicious, wanton, oppressive, and accomplished with a conscious disregard for the
   3 rights of Plaintiffs and DECEDENT, entitling Plaintiffs, individually and as
   4 successors-in-interest to DECEDENT, to an award of exemplary and punitive
   5 damages as to Defendants ZEPEDA, DOE OFFICERS, and BUESA.
   6         105. Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
   7 successors-in-interest as defined in Section 377.11 of the California Code of Civil
   8 Procedure and seek both survival and wrongful death damages for the violation of
   9 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
  10
  11                            TENTH CLAIM FOR RELIEF
  12           Negligence (including negligent tactics and negligent use of force)
  13                                    (Wrongful Death)
  14             (By Plaintiffs RENTERIA and POWELL against all Defendants)
  15         106. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  16 through 105 of this Complaint with the same force and effect as if fully set forth
  17 herein.
  18         107. Police officers, including Defendants, have a duty to use reasonable
  19 care to prevent harm or injury to others. This duty includes using appropriate tactics,
  20 giving appropriate commands, giving warnings, and not using any force unless
  21 necessary, using less than lethal options, and only using deadly force as a last resort.
  22         108.   Defendants ZEPEDA, BUESA, and DOES 3-10 breached this duty of
  23 care. Upon information and belief, the actions and inactions of Defendants
  24 ZEPEDA, BUESA, and DOES 3-10 were negligent and reckless, including but not
  25 limited to:
  26                (a)   the failure to properly and adequately assess the need to detain,
  27                      arrest, and use force or deadly force against DECEDENT;
  28

                                                -21-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 23 of 28 Page ID #:140




   1                (b)   the negligent tactics and handling of the situation with
   2                      DECEDENT, including pre-shooting and pre-Tasing negligence;
   3                (c)   the negligent detention, arrest, and use of force, including deadly
   4                      force, against DECEDENT;
   5                (d)   the failure to provide prompt medical care to DECEDENT;
   6                (e)   the failure to properly train and supervise employees, both
   7                      professional and non-professional, including ZEPEDA, BUESA,
   8                      and DOE OFFICERS, including training with regard to handling
   9                      situations with mentally ill individuals;
  10                (f)   the failure to ensure that adequate numbers of employees with
  11                      appropriate education and training were available to meet the
  12                      needs of and protect the rights of DECEDENT;
  13               (g)    the negligent handling of evidence and witnesses; and
  14               (h)    the negligent communication of information during the incident;
  15               (i)    the negligent handling
  16         109. As a direct and proximate result of Defendants’ conduct as alleged
  17 above, and other undiscovered negligent conduct, DECEDENT was caused to suffer
  18 severe pain and suffering and ultimately died. Also as a direct and proximate result
  19 of Defendants’ conduct as alleged above, Plaintiffs suffered emotional distress and
  20 mental anguish. Plaintiffs also have been deprived of the life-long love,
  21 companionship, comfort, support, society, care and sustenance of DECEDENT, and
  22 will continue to be so deprived for the remainder of their natural lives.
  23         110. CITY is vicariously liable for the wrongful acts of Defendants DOES
  24 1-10 pursuant to section 815.2(a) of the California Government Code, which
  25 provides that a public entity is liable for the injuries caused by its employees within
  26 the scope of the employment if the employee’s act would subject him or her to
  27 liability.
  28

                                                -22-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 24 of 28 Page ID #:141




   1         111. Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
   2 successors-in-interest as defined in Section 377.11 of the California Code of Civil
   3 Procedure and seek both survival and wrongful death damages for the violation of
   4 DECEDENT’s rights. Plaintiffs also seek attorney’s fees under this claim.
   5
   6                             ELEVENTH CLAIM FOR RELIEF
   7                             (Violation of Cal. Civil Code § 52.1)
   8               (By Plaintiffs RENTERIA and POWELL against all Defendants)
   9         112. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
  10 through 111 of this Complaint with the same force and effect as if fully set forth
  11 herein.
  12         113. California Civil Code, Section 52.1 (the Bane Act), prohibits any
  13 person from using violent acts or threatening to commit violent acts in retaliation
  14 against another person for exercising that person’s constitutional rights.
  15         114. On information and belief, Defendants ZEPEDA, DOE OFFICERS,
  16 and BUESA, while working for the CITY and acting within the course and scope of
  17 their duties, intentionally committed and attempted to commit acts of violence
  18 against DECEDENT, including by roughly taking him to the ground, Tasing and
  19 shooting him without justification or excuse, by integrally participating and failing
  20 to intervene in the above violence, and by denying him necessary medical care.
  21         115. When Defendants ZEPEDA and BUESA shot DECEDENT, they
  22 interfered with his civil rights to be free from unreasonable searches and seizures, to
  23 due process, to equal protection of the laws, to medical care, to be free from state
  24 actions that shock the conscience, and to life, liberty, and property.
  25         116. On information and belief, Defendants intentionally and spitefully
  26 committed the above acts to discourage DECEDENT from exercising his civil
  27 rights, to retaliate against him for invoking such rights, or to prevent him from
  28 exercising such rights, which he was fully entitled to enjoy.

                                                -23-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 25 of 28 Page ID #:142




   1        117. On information and belief, DECEDENT reasonably believed and
   2 understood that the violent acts committed by Defendants ZEPEDA, DOE
   3 OFFICERS and BUESA were intended to discourage him from exercising the above
   4 civil rights, to retaliate against him for invoking such rights, or to prevent him from
   5 exercising such rights.
   6        118.    Defendants thus successfully interfered with the above civil rights of
   7 DECEDENT and Plaintiffs.
   8        119. The conduct of Defendants was a substantial factor in causing
   9 Plaintiffs’ harms, losses, injuries, and damages.
  10        120. CITY is vicariously liable for the wrongful acts of Defendants
  11 ZEPEDA, DOE OFFICERS, and BUESA, pursuant to section 815.2(a) of the
  12 California Government Code, which provides that a public entity is liable for the
  13 injuries caused by its employees within the scope of the employment if the
  14 employee’s act would subject him or her to liability.
  15        121. Defendants DOES 6-10 are vicariously liable under California law and
  16 the doctrine of respondeat superior.
  17        122. The conduct of Defendants was malicious, wanton, oppressive, and
  18 accomplished with a conscious disregard for DECEDENT’s and Plaintiffs’ rights,
  19 justifying an award of exemplary and punitive damages as to Defendants ZEPEDA
  20 and BUESA.
  21        123. Plaintiffs POWELL and RENTERIA bring this claim as DECEDENT’s
  22 successors-in-interest as defined in Section 377.11 of the California Code of Civil
  23 Procedure and seek both survival and wrongful death damages for the violation of
  24 DECEDENT’s rights. Plaintiffs also seek punitive damages and attorney’s fees.
  25        //
  26        //
  27        //
  28        //

                                                -24-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 26 of 28 Page ID #:143




   1                              TWELFTH CLAIM FOR RELIEF
   2                                     Negligence–Bystander
   3           (By Plaintiffs RENTERIA, G.L., and CHAVEZ against Defendants CITY,
   4                           ZEPEDA, DOE OFFICERS, and BUESA)
   5          124. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
   6 through 123 of this Complaint with the same force and effect as if fully set forth
   7 herein.
   8          125. Defendants ZEPEDA, DOE OFFICERS, and BUESA, while working
   9 as police officers for the CITY of Barstow Police Department and while acting
  10 within the course and scope of their duties, negligently and carelessly inflicted such
  11 emotional distress when they intentionally shot and killed DECEDENT in front of
  12 G.L., CHAVEZ, and RENTERIA.
  13          126. Plaintiffs G.L., CHAVEZ, and RENTERIA were present and/or near
  14 the scene of the incident when the shooting of DECEDENT occurred. G.L.,
  15 CHAVEZ, and RENTERIA were aware that DECEDENT was being injured at the
  16 time of the shooting.
  17          127. As a direct and proximate cause of Defendants’ conduct, Plaintiffs
  18 G.L., CHAVEZ, and RENTERIA were caused to suffer severe emotional distress,
  19 including but not limited to anxiety, anguish, humiliation, and other injuries to their
  20 nervous system.
  21          128. RENTERIA is the mother of DECEDENT.
  22          129. G.L. is DECEDENT’s nephew.
  23          130. CHAVEZ is DECEDENT’s sister.
  24          131. Plaintiffs G.L., CHAVEZ, and RENTERIA bring this claim in their
  25 individual capacities and seek compensatory damages and attorney’s fees under this
  26 claim.
  27
  28

                                                -25-
                                                                      COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 27 of 28 Page ID #:144




   1                              PRAYER FOR RELIEF
   2        WHEREFORE, Plaintiffs Loretta Chavez; G.L., by and through his guardian
   3 ad litem, Loretta Chavez; Rosemary Renteria; and David Powell, Sr., request entry
   4 of judgment in their favor and against Defendants City of Barstow, Juan Zepeda,
   5 Andrew Buesa, and DOES 3-10, inclusive, as follows:
   6              A.    For compensatory damages in whatever other amount may be
   7                    proven at trial, including both survival damages and wrongful
   8                    death damages under federal and state law;
   9              B.    For funeral and burial expenses, and loss of financial support;
  10              C.    For punitive damages against the individual defendants in an
  11                    amount to be proven at trial;
  12              D.    For statutory damages;
  13              E.    For interest;
  14              F.    For reasonable attorney’s fees, including litigation expenses;
  15              G.    For costs of suit; and
  16              H.    For such further other relief as the Court may deem just, proper,
  17                    and appropriate.
  18
  19 DATED: November 18, 2016              LAW OFFICES OF DALE K. GALIPO
                                           RANDOLPH & ASSOCIATES
  20

                                           By /s/ Dale K. Galipo
  21
  22                                         Dale K. Galipo
                                             Don Randolph
  23                                         Attorneys for Plaintiffs

  24
  25
  26
  27
  28

                                                 -26-
                                                                     COMPLAINT FOR DAMAGES
Case 5:16-cv-01472-JGB-KK Document 24 Filed 11/18/16 Page 28 of 28 Page ID #:145




   1                           DEMAND FOR JURY TRIAL
   2        Plaintiffs hereby demand a trial by jury.
   3
   4 DATED: November 18, 2016             LAW OFFICES OF DALE K. GALIPO
                                          RANDOLPH & ASSOCIATES
   5
   6
   7                                      By /s/ Dale K. Galipo
                                            Dale K. Galipo
   8                                        Don Randolph
                                            Attorneys for Plaintiffs
   9
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                               -27-
                                                                   COMPLAINT FOR DAMAGES
